Case
MIE       3:21-cv-10575-RHC-RSW
    (Rev.10/12)                                           ECF
                Order of Recusal and Reassignment of Magistrate     No.
                                                                Judge     2, PageID.688 Filed 03/16/21 Page 1 of 1



                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MICHIGAN

EMILY EVANS et. al.,


                      Plaintiff(s),                                           Case No. 21-10575-RHC-APP

v.                                                                            Honorable Robert H. Cleland

CITY OF ANN ARBOR                                                             Magistrate Judge Anthony P. Patti


                      Defendant(s).
                                                                      /

                                          ORDER OF RECUSAL AND REASSIGNMENT

           The undersigned has been assigned as the magistrate judge in this action. Upon review of the record,

having found cause for recusal, and pursuant to 28 U.S.C. § 455(a), the Clerk is hereby directed to reassign this

matter by blind draw to another magistrate judge for further proceedings.


Date: March 16, 2021                                                          s/Anthony P. Patti
                                                                              Anthony P. Patti
                                                                              U.S. Magistrate Judge




Pursuant to this order, this case is reassigned to Magistrate Judge R. Steven Whalen                                 .
Case assignment credit will be given to the appropriate Judicial Officers.


                                                           Certificate of Service

        I hereby certify that on this date a copy of the foregoing Order was served upon the parties and/or counsel
of record herein by electronic means or first class U.S. mail.


Date: March 16, 2021                                                         s/N. Ahmed
                                                                                    Deputy Clerk
